IN THE COURT OF COMMON PLEAS OF WESTMORELAND COUNTY,
PENNSYLVANIA
CIVIL ACTION - LAW

CHRISTINE BIROS, an individual,

Plaintiff,

Vv. No. 4886 of 2017

U LOCK, INC.,
a Pennsylvania corporation,

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Defendant.
ORDER OF COURT

AND NOW, to wit, this LS. day of May, 2022, upon failure by counsel for Defendant
to file a praecipe acknowledging the current caption in this case and retroactively applying it to
the preceding pleadings, and in light of this Court’s Order dated May 3, 2019, it is hereby
ORDERED, ADJUDGED, and DECREED that it is REAFFIRMED that the caption in this

matter shall read as set forth above. It is REAFFIRMED that the previously released Defendants

in this case are no longer parties to the within action,

BY THE COURT:

   

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